              Case 18-15891-LMI         Doc 51    Filed 07/23/18     Page 1 of 38



                         UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:
                                                    CASE NO.: 18-15891-LMI
 MAURICE SYMONETTE
                                                    CHAPTER: 7
      Debtor.
__________________________/

                         EMERGENCY HEARING REQUESTED
  HSBC BANK USA, N.A. AS TRUSTEE FOR NOMURA HOME EQUITY LOAN, INC.,
ASSETBACKED CERTIFICATES, SERIES2007-1’s (“HSBC”) SUPPLEMENTAL MOTION
                      FOR ANNULMENT OF THE AUTOMATIC STAY
NUNC PRO TUNC TO MAY 15, 2018; OR IN THE ALTERNATIVE, A DETERMINATION
   THAT THE AUTOMATIC STAY DID NOT APPLY TO HSBC IN RELATION TO AN
EVICTION ACTION ON REAL PROPERTY LOCATED AT 10290 SW 58th St., MIAMI, FL
                                             33173
  (Supplemented to include reference to 1) Bankruptcy Case No. 13-39018-RAM [In re Mack
 Wells], 2) reason for emergency hearing, and 3) request for dismissal of the instant Chapter 7
                           petition as a result of Debtor’s bad faith)

Reason for emergency: Upon information and belief, the property subject to this Motion has been
broken into on multiple occasions. The Court has continued the hearing on HSBC’s Motion to
August 8, 2018 at 2:00pm (originally scheduled for July 25, 2018). Per Local Rule 9075-1,
emergency hearings shall be held only where direct, immediate and substantial harm will occur
to the interest of an entity in property. HSBC avers that the Subject Property is at continual risk
of damage, and respectfully requests a hearing prior to the August 8, 2018. The Debtor requested
(and was granted) a continuance in order to travel for a scheduled event in Arizona. As such,
HSBC requests the hearing be held on July 31, 2018.

       COMES NOW HSBC BANK USA, N.A. AS TRUSTEE FOR NOMURA HOME
EQUITY LOAN, INC., ASSETBACKED CERTIFICATES, SERIES 2007-1 (hereinafter
referred to as “HSBC”) by and through its undersigned counsel, files this motion for annulment of
the automatic stay nunc pro tunc to May 15, 2018, pursuant to 11 U.S.C. §362(d); or in the
alternative, an order deeming that the automatic stay inapplicable to HSBC in relation to an
eviction action (including any and all loss to the Debtor’s personal property that may or may not
have been realized). In support, HSBC respectfully states the following:
               Case 18-15891-LMI         Doc 51     Filed 07/23/18     Page 2 of 38



                                    Introduction:
       On June 7, 2018, Maurice Symonette (the “Debtor”) filed his Emergency Motion for
Violation of Automatic Stay [DE #20] (the “Emergency Motion”) in relation to an eviction that
occurred on May 14, 2018 at real property located at 10290 SW 58th St., Miami, FL (hereinafter
the “Subject Property”). The Debtor does not possess a legal or equitable right to the Subject
Property. Consequently, it is HSBC’s position that any possession enjoyed by the Debtor in
relation to the Subject Property was (and is) unlawful, and the Debtor has no property interest that
the automatic stay of 11 U.S.C.S §362 could protect. The Court has set a Final Evidentiary Hearing
on the Debtor’s Emergency Motion on August 8, 2018. Through this Motion; HSBC respectfully
requests that this Court enter an order determining that 1) the Debtor’s bankruptcy petition was
filed for the sole purpose to obstruct HSBC’s legal eviction proceeding, 2) that the Debtor had
neither a legal nor an equitable interest in the Subject Property, and 3) that the Debtor cannot use
the Bankruptcy Code and the automatic stay provisions in an attempt to recover possession of the
Subject Property and realize any damages as a result of HSBC’s attempt(s) to remove the Debtor
from the Subject Property.
                                       Factual Background:
       1.      The Debtor filed the instant bankruptcy on May 16, 2018.
       2.      On February 8, 2008 (over 10 years ago), a Final Judgment of Foreclosure was
entered in HSBC’s favor in relation to the “Subject Property.” A true and correct copy of the
Foreclosure Judgment is attached hereto as Movant’s Exhibit “A.”
       3.      HSBC is the record title owner of the Subject Property. Attached as HSBC’s
Composite Exhibit “B,” please find true and correct copies of the Certificate of Sale (the “COS”)
(dated February 18, 2015) and Certificate of Title (the “COT”) (dated October 29, 2015).
       4.      The Debtor has no interest in Subject Property. Pursuant to Section 45.0315 of the
Florida Statutes; the right of redemption passed when the COS was issued on February 18, 2015;
and as a result, neither this Debtor (Maurice Symonette) nor past debtors (Clide Ward/Kurt Marin)
have any legal interest in the Subject Property.
       5.      Furthermore; HSBC avers that the right of redemption was never even applicable
to this particular debtor as Maurice Symonette never, at any point, had colorable title to the Subject
Property. The only record of the Debtor’s “interest” in the Subject Property is a disqualified deed
                Case 18-15891-LMI            Doc 51      Filed 07/23/18        Page 3 of 38



recorded on November 16, 2015 (after both HSBC’s COS and COT). Please find a true and correct
copy of the disqualified deed– attached hereto as HSBC’s Exhibit “C.”
        6.       On June 7, 2018; Debtor filed the Emergency Motion, and in such Motion, the
Debtor alleges that HSBC and the Dade County Sheriff Department violated the bankruptcy stay
by trying to evict the Debtor.1
        7.       HSBC declares that, based on the following, the Debtor should not be able to use a
bankruptcy stay to protect personal items stored at a location that the Debtor was unlawfully
possessing as a trespasser.
                            Annulment of the Automatic Stay is appropriate
        8.       In the context of the automatic stay in bankruptcy, the discretion that is afforded a
bankruptcy judge to grant relief from the automatic stay includes the authority to grant an
annulment of the stay, thereby validating an act done in violation of the stay which would
otherwise be deemed to be void ab initio. Blaylock v. Phila. Hous. Auth., 301 B.R. 443, 445 (2003
Bankr. LEXIS 1586).
        9.       The factors which; if present, will warrant annulling the stay include: (1) whether
the creditor has knowledge of the debtor's bankruptcy filing; (2) whether the debtor is guilty of
some inequitable conduct, such as abusive and/or repetitive bankruptcy filings; (3) whether the
debtor has encouraged the creditor to proceed notwithstanding the stay or only asserts the stay
when it is unsuccessful in the outcome of an action it allowed to proceed; and (4) whether the
expenses of beginning anew with its enforcement remedy outweigh the benefit to anyone. None
of these factors are dispositive alone, but require a weighing of the equities since the remedy is
equitable in nature. Id.
        10.      Maurice Symonette; along with a number of other individuals, have been playing
an active role in obstructing HSBC’s ownership rights as to the Subject Property for over ten (10)
years. As stated, the Debtor does not have (and has never had) any colorable interest in the Subject
Property – yet (between the Debtor and individuals the Debtor is connected to) nine separate
bankruptcies2 have been filed since the foreclosure judgment – most recently the instant
bankruptcy petition filed the day of the HSBC’s eviction.


1
  Upon review of the docket, the Debtor’s primary address is 14100 NW 14th Ave., Miami, FL 33167 – not the
Subject Property
2
  10-12697-RAM filed 02/10/2010; dismissed 05/05/2010 (Kurt Marin)
10-45600-LMI filed 11/19/2010: dismissed 07/14/2011 (Kurt Marin);
                Case 18-15891-LMI          Doc 51      Filed 07/23/18       Page 4 of 38



        11.     The Court in Blaylock was confronted with a similar Debtor and ultimately found
that the debtor could not use the Bankruptcy Code and the automatic stay provisions in an attempt
to recover possession of the premises and damages” and that “[a] Chapter 7 case offered no right
to a debtor to remain in property for which she had neither a legal nor an equitable interest.
The bankruptcy petition was filed for the sole purpose to obstruct the creditor's legal eviction
proceedings.” (Emphasis added) Id. at 445.
        12.      Ultimately; the Blaylock Court concluded that the Chapter 7 case was filed solely
to invoke the automatic stay to prevent an eviction, when the Debtor had no lawful interest to
remain in the premises. Id. The Blaylock Court determined that such conduct would not be
sanctioned by further obstruction in the form of an order invalidating the housing authority’s
eviction and requiring the housing authority to reinstate the Debtor into the Premises to which she
has no claim of entitlement, only to evict her again. Id. Such an outcome would not only reward
Debtor for her inequitable conduct and impose a financial and administrative burden on the
housing authority, but would lead to an absurd result. Id.
        13.     In the instant case; the Debtor, Maurice Symonette, has no legal or equitable interest
in the Subject Property. The Debtor never contracted with HSBC at any point, and was legally
notified to leave the Subject Property. Attached as HSBC’s Exhibit “D” is a true and correct copy
of the Termination Notice sent to the “Unknown Occupants” on November 16, 2015.
        14.     Like the Debtor in Blaylock, Symonette has been deemed an individual with no
legal or equitable right to the Subject Property; and should not be afforded the protections of the
bankruptcy court to obstruct the rights of HSBC in relation to a property that Mr. Symonette has
no rights to.
        15.     Debtor is not at tenant. This Court has recently addressed the issue of an
eviction/writ of possession in In re PetitUSA, 2016 (Bankr. Lexis 4570). In PetitUSA, the Court
stated that under Florida law, loss of possession does not necessarily terminate a tenant’s leasehold
interest and even termination, if due solely to the non-payment of rent, can be reversed



12-10066-LMI filed 01/03/2012; dismissed 01/31/2013 (Kurt Marin);
12-23756-LMI filed 06/04/2012; dismissed 01/11/2013 (Maurice Symonette);
15-28143-JKO filed 10/13/2015; dismissed 02/05/2016 (Maurice Symontte);
16-13958-AJC filed 03/21/2016; dismissed 05/06/2016 (Kurt Marin) ;
16-20959-EPK filed 08/08/2016; dismissed 07/11/2017 (Maurice Symonette);
18-15121-EPK filed 04/30/2018; dismissed 05/14/2018 (Maurice Symonette, Kurt Marin, and Clide Ward)
18-15891-LMI filed 05-16/2018 (the instant case)
               Case 18-15891-LMI          Doc 51     Filed 07/23/18      Page 5 of 38



(Emphasis added). Id. at 10. The Court found that the forfeiture of the Debtor’s leasehold was
based on non-payment of rent (a monetary default), and not solely in relation to an alleged non-
monetary default. PetitUSA at 10.
        16.     The PetitUSA Debtor clearly had a possessory interest in the collateral – which was
formalized with a landlord/tenant lease agreement.
        17.     The Debtor here is distinguishable from the PetitUSA Debtor (or any Debtor with
a true a landlord/tenant relationship). As stated; the Debtor in the instant case has no legal or
equitable interest in the Subject Property (including no rights as a tenant under Florida law). The
Debtor is tantamount to a trespasser on the Subject Property; and, like the Blaylock Court, this
Court should determine that the Debtor should not be permitted to use the stay unfairly as a shield
to escape the unfavorable consequences of [his] own duplicitous conduct. Blaylock at 12.
Consequently, the Debtor’s assertions of damaged items should be disqualified as without merit
because such items were stored at a location that the Debtor was occupying unlawfully.
        18.     Debtor’s Chapter 7 was filed solely to stop eviction. HSBC avers that this case was
filed for the sole reason to (again) stop HSBC’s eviction. Upon review of the Debtor’s Schedules,
the Debtor lists no unsecured creditors on Schedule E/F. As this is a Chapter 7 case, it is clear
that the Debtor has no intention to utilize this court for a Chapter 7’s intended purpose – to obtain
a discharge of unsecured debt.
        19.     Eviction proceeded in accordance with Florida Law. Pursuant to Section 83.62 (2)
of Florida Statutes, “at the time the sheriff executes the writ of possession or at any time thereafter,
the landlord or the landlord’s agent may remove personal property found on the premises to or
near the property line” and “neither the sheriff nor the landlord’s agent shall be liable to the tenant
or any other party for the loss, destruction, or damage to the property after it has been removed.”
Assuming; arguendo, that any of the Debtor’s items were impacted in any way during the course
of the eviction – the Sheriff was acting in accordance with Florida law and neither the Sheriff nor
HSBC should be liable for any damages that may or may not have occurred to the Debtor’s
property.
                Case 18-15891-LMI           Doc 51      Filed 07/23/18       Page 6 of 38



                      In Re Mack Wells (Bankruptcy Case No. 13-39018-RAM)3
        20.     Upon further research and preparation for the hearing on the instant Motion, as well
as the hearing on Debtor’s Emergency Motion; HSBC supplements this pleading to include Judge
Mark’s analysis in the Mack Wells Bankruptcy (BK Case No. 13-39018-RAM), and discuss the
similarities between that case and Mr. Symonette’s current bankruptcy case.
        21.     In the Mack Wells case, the Court conducted a hearing on an Emergency Motion
for Sanctions (nearly identical to the pleading filed by Mr. Symonette in this bankruptcy); wherein
Mr. Wells argued that he was evicted from “his home” located at 14100 NW 14th Avenue, Miami,
FL (the “Mack House”). Ultimately, the Court determined that Mack Wells should obtain no
relief on the alleged stay violation, den[ied] the Motion for Sanctions, and set a hearing
requiring the Debtor to appear and show cause why this case should not be dismissed with
prejudice. 13-39018-RAM (In re Mack Wells).
        22.     Similar to the Subject Property in the instant case, the Mack House was not owned
by Mack Wells. Instead; the court identified that public records showed that Mack Wells obtained
an “interest” in the Mack House by way of a Quit Claim deed that was not recorded until February
27, 2014 – years after Deutsche Bank was issued a Certificate of Title on December 1, 2011. Id.
        23.     Judge Mark found that:
                     “whatever interest the Debtor claimed in the [Mack House] by virtue of the
                     Quit Claim Deed was extinguished by the completion of the foreclosure sale
                     and the issuance of title to Deutsche Bank in late 2011,” and “without
                     question, the Debtor knew that he no longer owned the [Mack House] since
                     he filed the bankruptcy case to stop the issuance of a Writ of Possession
                     sought by the title owner.” Id.
        24.     The factual circumstances of the Mack Wells case are identical to the factual
circumstances in the instant case. This court should enter an order articulating the same
“inescapable conclusion” reached by Judge Mark – Mr. Symonette has abused the bankruptcy
process and, along with others, has caused substantial delay and cost to HSBC. Judge Mark found
that Mack Wells, along with others, filed numerous petitions to stop the foreclosure or try to stop
a lawful eviction by the bank.


3
 A true and correct copies of the Amended Order Denying Motion for Sanctions and Order to Show Cause (the
“Mack Wells Order”) is attached hereto as HSBC’s Exhibit “E.”
               Case 18-15891-LMI         Doc 51     Filed 07/23/18     Page 7 of 38



       25.     In addition to denying the Debtor’s Motion for Sanctions, the Court deemed it
appropriate to set a hearing for the Debtor to show cause why the case should not be dismissed
with prejudice for two years – which ultimately occurred on September 14, 2014.
       26.     Finally; and perhaps not so coincidentally, the referenced Quit Claim Deed to Mack
Wells also included this Debtor, Maurice Symonette. A true and correct copy of the Mack
Wells/Maurice Symonette is included as an Exhibit to the Mack Wells Order. The address of the
Mack House (14100 NW 14th Avenue, Miami, FL) is the address the Debtor lists as his primary
residence, as reflected on the docket. As such, this provides further evidence that a rather intricate
and long lasting scheme to hinder and delay title owners from removing unauthorized individuals
from multiple properties is still underway and thriving.
       27.     As stated, this Debtor has no colorable title in relation to the Subject Property, and
inclusion of this property on the Debtor’s schedules is a false representation. The Debtor is not a
bona fide tenant or owner of the Subject property. Any possession of the Subject Property by this
Debtor is unauthorized, and trespassing.
       28.     Just like the Mack Wells case, this court should deny the Debtor’s Emergency
Motion for Sanctions with prejudice.
                                  Emergency Hearing Requested
       29.     Request for Emergency Hearing. Upon information and belief, the Subject Property
has been broken into on multiple occasions since the filing of the Debtor’s petition.
       30.     Most recently; upon information and belief, on July 21, 2018, the Subject Property
was broken into again (presumably at the direction of the Debtor).
                                            Conclusion
       Maurice Symonette is an individual with no legal or equitable right to HSBC’s Property,
and it is HSBC’s position that any possession by Mr. Symonette in relation to the Subject Property
was (and is) unlawful, and the Debtor has no property interest that the automatic stay of 11 U.S.C.S
§362 could protect. Notwithstanding the Debtor’s lack of colorable title; the Debtor has used this
Court (on multiple occasions) to obstruct HSBC’s eviction proceedings. Like the Court in
Blaylock, this Court should determine that the Debtor’s Chapter 7 case affords no right to a debtor
to remain in property for which he had neither a legal nor an equitable interest. Blaylock at 17.
Finally, as articulated above, this court has dealt with the identical set of factual circumstances.
This court should follow Judge Mark’s Mack Wells ruling and find that Mr. Symonette “should
              Case 18-15891-LMI         Doc 51     Filed 07/23/18     Page 8 of 38



obtain no relief on the alleged stay violation and deny the Motion for Sanctions.” Deeming the
stay annulled (and dismissing this case for bad faith) would be the most equitable/appropriate
result given that the Debtor is alleging damages to personal property that was located on property
where the Debtor had no legal right to be; and given that this Court has confronted this exact same
issue in case that the Debtor clearly had some sort of involvement with.
       WHEREFORE, HSBC Bank USA, National Association as Trustee for Nomura Home
Equity Loan, Inc., AssetBacked Certificates, Series 2007-1, respectfully requests that this Court
enter an Order stating the following:
       a) That the Debtor’s Chapter 7 petition was filed for the sole purpose to obstruct HSBC’s
           eviction;
       b) That the Debtor has neither a legal, nor an equitable interest in the Subject Property;
       c) That the Debtor has no colorable title in the Subject Property;
       d) That the automatic stay is annulled to May 15, 2018 (thus, affirmatively legitimatizing
           HSBC’s eviction); or in the alternative, no stay was in place at the time of the eviction
           because the Debtor is a trespasser on HSBC’s property;
       e) That by entry of an order granting this Motion; the Debtor’s Emergency Motion should
           be denied as moot, and with prejudice; and
       f) Dismissing the case with prejudice on the grounds of a bad faith filing.
                                                     Jeffrey S. Fraser, Esq.
                                                     Albertelli Law
                                                     Attorney for Secured Creditor
                                                     PO Box 23028
                                                     Tampa, FL 33623
                                                     Telephone: (813) 221-4743
                                                     Facsimile: (813) 221-9171

                                                     By: /s/ Jeffrey S. Fraser, Esq.
                                                     JEFFREY S. FRASER, ESQ.
                                                     Florida Bar No: 0085894
               Case 18-15891-LMI         Doc 51     Filed 07/23/18     Page 9 of 38



                                      CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or regular U.S. Mail to the parties on the attached service list, this 23rd day of July
2018, I served a copy of the foregoing upon:

SERVICE LIST
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
25 SE 2nd Avenue
Suite 248
Miami, FL 33131

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

                                                      Jeffrey S. Fraser, Esq.
                                                      Albertelli Law
                                                      Attorney for Secured Creditor
                                                      PO Box 23028
                                                      Tampa, FL 33623
                                                      Telephone: (813) 221-4743
                                                      Facsimile: (813) 221-9171

                                                      By: /s/ Jeffrey Fraser, Esq.
                                                      JEFFREY S. FRASER, ESQ.
                                                      Florida Bar No: 0085894
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 10 of 38




       EXHIBIT A
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 11 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 12 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 13 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 14 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 15 of 38




       EXHIBIT B
                                                                              Page 1 of 2
              Case 18-15891-LMI    Doc 51   Filed 07/23/18   Page 16 of 38




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                                                                              Page 2 of 2
              Case 18-15891-LMI    Doc 51   Filed 07/23/18   Page 17 of 38




https://www2.miami-dadeclerk.com/ocs/ViewerHTML5.aspx?QS=B6%2f9EwnZlIiih%2b... 6/20/2018
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 18 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 19 of 38




       EXHIBIT C
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 20 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 21 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 22 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 23 of 38




       EXHIBIT D
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 24 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 25 of 38
Case 18-15891-LMI   Doc 51   Filed 07/23/18   Page 26 of 38




        EXHIBIT E
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page27
                                                1 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page28
                                                2 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page29
                                                3 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page30
                                                4 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page31
                                                5 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page32
                                                6 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page33
                                                7 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page34
                                                8 of 12
                                                     38
Case 18-15891-LMI
     13-39018-RAM Doc
                   Doc51
                       72 Filed
                           Filed07/23/18
                                 08/20/14 Page
                                           Page35
                                                9 of 12
                                                     38
Case
Case13-39018-RAM
     18-15891-LMI Doc
                  Doc51
                      72 Filed
                         Filed07/23/18
                               08/20/14 Page
                                        Page36
                                             10of
                                               of38
                                                  12
Case
Case13-39018-RAM
     18-15891-LMI Doc
                  Doc51
                      72 Filed
                         Filed07/23/18
                               08/20/14 Page
                                        Page37
                                             11of
                                               of38
                                                  12
Case
Case13-39018-RAM
     18-15891-LMI Doc
                  Doc51
                      72 Filed
                         Filed07/23/18
                               08/20/14 Page
                                        Page38
                                             12of
                                               of38
                                                  12
